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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS

United States of America, et ol., ex rel.,
Ronald J. Streck,
                      Plaintiffs                               Case   No:   14 C 9412

               v.
                                                               Judge: Ruben Castillo
Takeda Pharmaceuticals America Inc..
et al.
                    Defendants



                                              ORDER

The United States, and the States of California, Colorado, Connecticut, Delaware, District of
Columbia, Florida, Georgia, Hawaii, Illinois, Indiana, Iowa, Louisiana, Massachusetts, Michigan,
Minnesota, Montana, Nevada, New Jersey, New Mexico, Oklahoma, Rhode Island, Tennessee,
Texas, Virginia, Washington, and Wisconsin have declined to intervene in the claims asserted
against fourteen of the fifteen defendants, and are not intervening at this time but will continue
their investigations against the remaining defendant pursuant to the False Claims Act, 3l U.S.C.
$3730(bX4)(B), and the States' respective false claim acts. The States of New York and North
Carolina have declined to intervene in the claims asserted against eleven of the fifteen defendants
and are not intervening at this time but will continue their investigations against the remaining
four defendants pursuant to the States' respective false claim acts. Therefore, the Clerk of Court
is directed to unseal the complaint, this Order, the attached Order and Notice that the United
States is declining to intervene as to all but one defendant and that, with respect to that one
defendant, the United States is not intervening at this time; the attached Order and the Notice of
the Plaintiff States of their respective intervention decisions. All claims on behalf of the State of
Maryland are hereby dismissed without prejudice. All other contents in the Court's file will
remain under seal until further court order. The seal is also lifted as to all other matters occurring
in this action after the date of this Order. The Clerk of Court is directed to statistically terminate
this action and re-open at such time as it has been reassigned to another district judge.




Date: January 26,2018                          /s/ Chief Judge Ruben Castillo
